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AO 91 (Rev. 11/11) Criminal Complaint


                                        UNITED STATES DISTRICT COURT
                                                                 for the
                                                         District of Columbia

                  United States of America                         )
                             v.                                    )
                                                                   )       Case No.
        DANEAN KIMBERLY MACANDREW
                                                                   )
                DOB: :XXXXXX                                       )
                                                                   )
                                                                   )
                          Defendant(s)


                                                 CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
 On or about the date(s) of                   January 6, 2021              in the county of __________ in the
                         in the District of      Columbia       , the defendant(s) violated:
            Code Section                                                     Offense Description
        18 U.S.C.    § 1752(a)(l)-Entering and Remaining in a Restricted Building or Grounds;
        18 U.S.C.    § 1752(a)(2)-Disorderly and Disruptive Conduct in a Restricted Building or Grounds;
        40 U.S.C.    § 5104(e)(2)(D)- Disorderly Conduct in a Capitol Building;
        40 U.S.C.    § 5104(e)(2)(G)- Parading, Demonstrating, or Picketing in a Capitol Building.



         This criminal complaint is based on these facts:
  See attached statement of facts.




         N Continued on the attached sheet.




                                                                                  Braden Ballantyne, Special Agent
                                                                                               Printed name and title
Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone.                                                                                              Zia M. Faruqui
                                                                                                           2021.11.12 15:55:59
Date:             11/12/2021                                                                               -05'00'
                                                                                                 Judge's signature

City and state:                     Washin on D.C.
